           Case 1:19-cv-07530-LGS Document 50 Filed 11/06/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                              X
                                                              :
 JANICE ALLEY,                                                :
                                              Plaintiff,      :
                                                              :   19 Civ. 7530 (LGS)
                            -against-                         :
                                                              :        ORDER
 LONG ISLAND RAILROAD COMPANY,                                :
                                              Defendant. :
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LORNA G. SCHOFIELD, District Judge:

        WHEREAS the final pre-trial conference in this action is scheduled for November 19,

2020, and trial is scheduled to begin on December 2, 2020, at 9:45 a.m. It is hereby

        ORDERED that because of concerns with the spread of COVID-19 in the two weeks

following Thanksgiving, the trial scheduled for December 2, 2020, at 9:45 a.m., is adjourned

sine die. It is further

        ORDERED that the final pre-trial conference scheduled for November 19, 2020, is

adjourned sine die. It is further

        ORDERED that on November 19, 2020, at 10:30 a.m., the parties shall appear for a

conference to discuss a new trial date, on the following conference call line: 888-363-4749,

access code 558-3333. The time of the conference is approximate, but the parties shall be ready

to proceed by that time.


Dated: November 5, 2020
       New York, New York
